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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


IN RE: Bair Hugger Forced Air Warming                          MDL No. 15-2666 (JNE/FLN)
Products Liability Litigation


This Document Relates to                            CERTIFICATE OF SERVICE

All Cases


I hereby certify that on December 5, 2016, I caused the following documents:
   •   Affidavit of Bridget Ahmann In Support of Application for Fees and Costs Pursuant to
       November 23, 2016 Order with Exhibits A and B;
   •   Affidavit of Micah M. Hines In Support of Application for Fees and Costs Pursuant to
       November 23, 2016 Order with Exhibit A;
   •   Proposed Order; and
   •   Certificate of Service of Proposed Order

to be served via United States Mail and electronic mail on the following non-ECF participant to
this action at the address listed:

J. Randall Benham
General Counsel
Augustine Temperature Management LLC
6581 City West Parkway
Eden Prairie, MN 55344
rbenham@augbiomed.com

Personal service was attempted on December 5, 2016 and December 6, 2016 but was refused by
the company.
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Dated: December 6, 2016                     s/Bridget M. Ahmann
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